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     SATURDAY, JANUARY 6


     Kommersant.ru
     The Prosecutor’s Office Makes a Deposit with the DIA
     In return, the Agency must regulate bank bailouts


     01.28.2016


     Bank bailouts, which absorb tremendous amounts of money, are facing a sweeping critical
     analysis. For the first time in the seven years of this mechanism’s existence (since the crisis
     of 2008), its use has raised questions at the Prosecutor General’s Office, which performs
     checks of the state institution, in this case the Deposit Insurance Agency (DIA), overseeing
     the recovery. Now, violations are being eliminated at this Agency.

     The Prosecutor General’s Office sent an order to eliminate violations to the DIA in mid-
     December of last year. The check dealt with the use of money allocated to support the banking
     sector. In response, the DIA corrected violations and developed measures to eliminate situations
     that cannot be resolved on the fly. Kommersant understands that the order, the adopted measures
     and the DIA’s plan for future actions were reviewed two days ago at a meeting of the Agency’s
     Board of Directors. Sources at the DIA confirmed this: “Information about the set of measures
     adopted by the Agency to completely eliminate the violations noted by the prosecutor’s office
     was submitted for review. This matter was reviewed in the presence of a representative of the
     Prosecutor General’s Office. This information was taken under advisement.” The complete list of
     complaints has not been disclosed. However, Kommersant understands that most of the
     admonishments were caused by a variety of events that took place during bank bailouts. The key
     issues boil down to insufficient regulation and elaboration of the actions of the Agency and the
     bankruptcy managers.

     This has particularly been the case during the transfer of assets. As an Agency representative
     explained, “as part of the plan for the DIA to participate in settling Probusinessbank’s liabilities,
     some of the Bank’s assets and its liabilities to depositors were transferred to Binbank under an
     agreement; the Prosecutor General’s Office noted that this plan did not contain detailed
     information about the makeup of the assets and liabilities that were transferred.” Thus, questions
     have emerged about the price, volume and, consequently, the fairness of these assessments upon
     their transfer. The DIA says that this information is entered into the plan later, when an acquirer
     bank is selected, since a potential acquirer has the right to determine the makeup of the assets to
     be transferred during the tender. However, the Agency has already “started preparing proposals




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     to clarify current laws in terms of setting a maximum amount for transferred liabilities and a
     maximum amount on the value of assets.”

     The questions posed by the Prosecutor General’s Office were prompted by the DIA’s decisions
     on the advisability of participating in a bailout without conducting an analysis of a bank’s
     financial situation. To save time, these decisions are sometimes made on the basis of an express
     assessment of the situation, while it later turns out that the hole is bigger than originally
     anticipated and more money needs to be added to the bailout. A DIA representative stated that
     “proposals are being prepared for changing the law in terms of conducting an analysis of a
     bank’s financial situation”. Moreover, the Agency believes that the law must state that no
     decision on the advisability of participating in a bailout or in the settlement of a bank’s liabilities
     can be made without an “in-depth analysis”.

     Sources familiar with the situation told Kommersant that the prosecutor’s office was also
     interested in how the bankruptcy managers complied with recovery plans and the deadlines given
     in them. “Out of all the bank bailout projects, there were isolated cases where investors rejected
     planned time frames (in particular, Fondservisbank), which happened for reasons beyond the
     control of the investor and the agency.” The DIA says that this situation has been corrected. In
     response to a question from Kommersant, the Agency stated that “Changes have been made to
     the plan for the Agency’s participation in implementing measures to prevent a bank from going
     bankrupt. These changes enshrine the sequence of actions of the Agency and the investor, the
     bank and Roskosmos, when the latter placed a subordinated deposit at Fondservisbank after the
     government approved the terms for transferring an RF asset contribution to the property of
     Roskosmos State Corporation.”

     Another cause for admonishment was the DIA’s actions as a temporary administration for banks,
     specifically regarding the withdrawal of 600 million rubles from an account at Probusinessbank
     during a period when it was experiencing great difficulties. Clients of Probusinessbank have
     already filed complaints about this with law-enforcement authorities (see Kommersant October
     28, 2015), and two members of the DIA’s temporary administration faced disciplinary actions
     (see Kommersant January 19). Now, after the check by the Prosecutor General’s Office, any DIA
     activities connected with money at problem banks will also be regulated by “a regulation [that is
     being prepared] on organizing the withdrawal of funds from bank accounts after a temporary
     administration in the person of the DIA has been introduced at a bank”. Kommersant has also
     been told that the problem with registering pledges is also being addressed. True, here the
     problem was with the software package used by notaries to input information about the notarial
     registration of notifications of pledge of moveable assets in the registry for notifications of
     pledge: it was not powerful enough. This is far from a complete list of the concerns that arose at
     the Prosecutor General’s Office during the check of the DIA, but the Agency has not
     disseminated any information about other questions regarding the oversight agency. However,
     Kommersant understands that these relate to lack of security, the quality of management of
     transferred assets, and insufficiently close control over the bankruptcy managers and the banks
     being managed by them.




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     Lawyers note that these questions are entirely fair, but they are not convinced that the proposed
     measures will bring radical change to the situation. Sometimes the difficulties are entirely
     objective. According to Yuri Nikolayev, chair of the Moscow-based law firm Nikolayev and
     Partners, “with the financial analysis, for example, the question is not about the obligation to
     conduct a detailed assessment but about the speed of saving the bank and the objective ability to
     access all the information”. At the same time, he notes, the lack of precise assessments of the
     situation, and of maximum amounts for the value of assets and the size of liabilities, does present
     occasion for violations and could result in an understatement of the value of the transferred
     assets. However, it is challenging to assess the scale of problems in bailouts. As Mr. Nikolayev
     explained, “This could be determined if the prosecutor’s office assessed what kind of financial
     damage these violations caused to the parties that they affected and measured this against the
     size of the assets managed by the DIA, for example.” Moreover, lawyers note that the order of
     the prosecutor’s office may threaten Agency staff members with specific measures of
     administrative liability only if the time frames for eliminating violations, which are set by the
     prosecutor’s office, are changed. Overall, though, market participants consider the actions taken
     by the Prosecutor General’s Office to be correct. As Sergey Kislov, a partner in the law firm
     Lidings, notes, tremendous amounts of money have been spent for many years now on bailouts
     (over 1.5 trillion rubles since this mechanism was introduced in 2008), and the question of
     controlling this money, as well as the DIA as the overseer of this process and its participants in
     the person of bank bankruptcy managers, who apparently feel they can earn more and take
     advantage of this, is fundamentally important. The Prosecutor General’s Office declined to
     comment.

     Svetlana Dementyeva, Olga Shestopal

     […]

     Kommersant newspaper, No. 13 (http://kommersant.ru/daily/95249) of 01.28.2016, p. 1

     […]




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              06 ЯНВАРЯ, СУББОТА




              Прокуратура внесла свой вклад в АСВ
              В ответ агентству придется регламентировать санацию
              банков

              28.01.2016



         Санация банков, на которую тратятся огромные суммы, подверглась
            тотальному критическому анализу. Впервые за более чем семь лет
            существования этого механизма — с кризиса 2008 года — его использование
            вызвало вопросы у Генпрокуратуры, проверившей курирующее
            оздоровление госведомство в лице Агентства по страхованию вкладов
            (АСВ). Там устраняют нарушения.

            Представление об устранении нарушений Генпрокуратура направила в АСВ в
            середине декабря прошлого года. Проверка была посвящена использованию денег,
            выделенных для поддержки банковского сектора. В ответ АСВ исправило
            нарушения и разработало меры по устранению тех ситуаций, которые
            моментально разрешить невозможно. Представление Генпрокуратуры, принятые
            меры и план грядущих действий АСВ, по данным "Ъ", позавчера рассматривались
            на заседании совета директоров агентства. В АСВ подтвердили: "На рассмотрение
            действительно была вынесена информация о комплексе мер, принятых агентством
            по полному устранению нарушений, которые отмечены прокуратурой.
            Рассмотрение данного вопроса прошло в присутствии представителя
            Генпрокуратуры,— заявили в агентстве.— Указанная информация была принята к
            сведению". Полный перечень претензий не раскрывается. По данным "Ъ",
            основную часть нареканий вызвал целый ряд моментов при санации банков.
            Ключевые вопросы сводятся к недостаточной регламентации и детализации
            действий агентства и санаторов.

            В частности, при передаче активов. Как пояснили в агентстве, "в рамках плана
            участия АСВ в урегулировании обязательств Пробизнесбанка часть его имущества
            и обязательства перед вкладчиками были переданы по договору Бинбанку, и
            Генпрокуратура высказала замечание, что указанный план не содержит детальных
            сведений о составе передаваемого имущества и обязательств". В результате
            вызывают вопросы цена, объем и, как следствие, справедливость этих оценок при
            передаче. В АСВ указывают, что эти данные вносятся в план потом, по мере отбора
            банка-приобретателя, поскольку в ходе конкурса потенциальный приобретатель
            вправе определить состав передаваемых активов. Впрочем, агентство уже
            "приступило к подготовке предложений по уточнению действующего

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            законодательства в части установления предельного размера передаваемых
            обязательств и предельной стоимости имущества".

            Вопросы у Генпрокуратуры вызвали решения АСВ о целесообразности участия в
            санации без проведения анализа финположения банка. Такие решения иногда —
            для скорости — принимаются на основании экспресс-оценки ситуации. А
            впоследствии выясняется, что дыра больше и денег на санацию требуется
            добавить. "Готовятся предложения по изменению законодательства в части
            проведения анализа финположения банка",— заявили в АСВ. При этом, по
            мнению агентства, необходимо законодательно установить невозможность
            решения о целесообразности участия в санации или урегулировании обязательств
            банка без проведения "углубленного анализа".

            Заинтересовалась прокуратура и ситуацией с соблюдением санаторами планов
            оздоровления и сроков, в них указанных, рассказывают источники "Ъ", знакомые с
            ситуацией. "Среди всех проектов по санации банков были единичные случаи
            отклонения инвесторами от запланированных сроков (в частности,
            Фондсервисбанк), что было вызвано независящими от инвестора и агентства
            причинами. Ситуация уже исправлена, говорят в АСВ. "Внесены изменения в план
            участия агентства в осуществлении мер по предупреждению банкротства банка,
            которыми закреплена последовательность действий агентства и инвестора, банка и
            "Роскосмоса" при размещении последним субординированного депозита в
            Фондсервисбанке после утверждения правительством условий передачи
            имущественного взноса РФ в имущество ГК "Роскосмос"",— говорится в ответе
            агентства на запрос "Ъ".

            Пунктом нареканий стали также действия АСВ в качестве временной
            администрации (ВА) банков. А именно, по списанию 600 млн руб. со счета в
            Пробизнесбанке в период, когда он уже испытывал серьезные трудности. На это в
            правоохранительные органы уже жаловались клиенты Пробизнесбанка (см. "Ъ" от
            28 октября 2015 года), и два члена ВА АСВ были привлечены к дисциплинарной
            ответственности (см. "Ъ" от 19 января). Теперь, после проверки Генпрокуратуры,
            связанная с деньгами деятельность АСВ в проблемных банках будет еще и
            регламентирована — готовящимся "регламентом организации списания денежных
            средств со счетов банка после введения в банк ВА в лице АСВ". Решается и
            проблема с регистрацией залогов, уверяют там. Правда, в ней виноват
            программный комплекс, используемый нотариусами для внесения информации о
            нотариальной регистрации уведомлений о залоге движимого имущества в реестр
            уведомлений о залоге: он недостаточно производительный. Это далеко не полный
            перечень нареканий, возникших у Генпрокуратуры в ходе проверки АСВ. Впрочем,
            о других вопросах надзорного ведомства в агентстве распространяться не стали. По
            данным "Ъ", это и вопрос нехватки обеспечения, качества управления
            перешедшими активами, не всегда достаточно пристальный контроль за
            санаторами и санируемыми банками.


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            Все эти вопросы заданы совершенно справедливо, указывают юристы, но они не
            уверены, что предложенные меры радикально исправят ситуацию. Иногда
            сложности вполне объективные. "Например, с финанализом — вопрос не в
            обязанности проводить детальную оценку, а в скорости спасения банка и
            объективной возможности доступа ко всей информации",— говорит председатель
            МКА "Николаев и партнеры" Юрий Николаев. В то же время отсутствие точных
            оценок ситуации, равно как и предельных значений стоимости имущества и
            размера обязательств, действительно дает повод для нарушений, может приводить
            к занижению стоимости передаваемого имущества, отмечает он. Правда, оценить
            масштаб проблем в санации затруднительно. "Это можно было бы определить,
            если бы прокуратура оценила, какой финансовый ущерб нанесли допущенные
            нарушения тем сторонам, которых они затронули, и сопоставила ее, например, с
            размером активов, находящихся под управлением самого АСВ",— поясняет
            господин Николаев. Кроме того, конкретными мерами административной
            ответственности сотрудникам агентства представление прокуратуры может
            грозить, лишь если будут изменены сроки устранения нарушений, установленные
            самой прокуратурой, указывают юристы. Впрочем, в целом действия
            Генпрокуратуры участники рынка сочли правильными. На санацию уже который
            год тратятся огромные средства (с 2008 года, когда был введен этот механизм,—
            более 1,5 трлн руб.), и вопрос контроля за ними, а также за АСВ как куратором
            этого процесса и его участниками в лице банков-санаторов, которые, очевидно,
            чувствуют возможность заработать больше и пользуются этим, принципиально
            важен, указывает партнер юрфирмы Lidings Сергей Кислов. В Генпрокуратуре от
            комментариев отказались.


            Светлана Дементьева, Ольга Шестопал




            Материалы по теме:

                     Банкротство Пробизнесбанка вошло в коллективную фазу (http://kommersant.ru/doc/2841879)

                     АСВ не застраховалось от Генпрокуратуры (http://kommersant.ru/doc/2895656)

                     ЦБ спешит на помощь ВЭБу (http://kommersant.ru/doc/2902204)




                 Газета "Коммерсантъ" №13 (http://kommersant.ru/daily/95249) от 28.01.2016, стр. 1




                  КОММЕНТИРОВАТЬ (HTTP://KOMMERSANT.RU#COMMENTS)




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